     Case 8:15-cv-01985-CAS-E Document 319 Filed 09/20/21 Page 1 of 34 Page ID #:31010
              REDACTED VERSION OF DOCUMENT PROPOSED TO BE FILED
                                 UNDER SEAL

 1     Kolin C. Tang (SBN 279834)
       MILLER SHAH LLP
 2     19712 MacArthur Boulevard
 3     Suite 222
       Irvine, CA 92612
 4     P: (866) 540-5505
 5     kctang@millershah.com

 6     Counsel for Plaintiffs, on behalf of themselves
 7     and all others similarly situated

 8     [Additional Counsel on signature page]
 9
                        IN THE UNITED STATES DISTRICT COURT
10                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
11
12                                   ) Case Number: 8:15-cv-01985 CAS (Ex)
       STEVE ODDO, RAJENE REARDON,
                                     )
13     ANTHONY LASALA, LINDA LAMM,   )
       KEITH KIMBALL, NORMAN KLINGE, )
14                                   )
       and DAN GALLAGHER, on behalf of
                                     )
15     themselves and all others similarly
                                     )
       situated,                     )
16                                   ) PLAINTIFF’S OPPOSITION TO
                 Plaintiffs,         )
17                                   ) DEFENDANTS’ MOTION FOR
           vs.                       ) SUMMARY JUDGMENT
18                                   )
19     ARCOAIRE AIR CONDITIONING AND )
                                     )
       HEATING, CARRIER CORPORATION, )
20     BRYANT HEATING AND COOLING    )
       SYSTEMS, COMFORTMAKER AIR     ) Judge:      Christina A. Snyder
21                                   )
       CONDITIONING & HEATING,       ) Hearing:    To be scheduled
22     INTERNATIONAL COMFORT         ) Time:       To be scheduled
       PRODUCTS LLC, and UNITED      ) Courtroom: 8D
23                                   )
       TECHNOLOGIES CORPORATION,     )
24                                   )
                 Defendants.         )
25
26
27
28
     Case 8:15-cv-01985-CAS-E Document 319 Filed 09/20/21 Page 2 of 34 Page ID #:31011




 1                                                 TABLE OF CONTENTS
 2
 3     INTRODUCTION ............................................................................................................ 1

 4     ARGUMENT .................................................................................................................... 2
 5     I.       Mr. Oddo Can Prove His Omission Claims Based
 6              On Carrier’s Failure To Disclose Air Conditioner Contamination ........................ 2

 7              A.       Carrier Owed A Duty to Disclose Under
 8                       The Central-Function Test, If It Applies ...................................................... 2

 9              B.       Carrier Owed A Duty To Disclose Under The Limandri Factors ................ 8
10
                C.       Mr. Oddo Relied On Carrier’s Omissions.................................................. 17
11
12              D.       Carrier Intended To Defraud Consumers ................................................... 20

13     II.      The Court Cannot Grant Summary Judgment On Claims
14              For Omission Related To A/C Re-New Because No Such
                Claims Were Ever Asserted .................................................................................. 21
15
16     III.     Mr. Oddo Can Prove His Unjust Enrichment Claims .......................................... 23
17     IV.      Mr. Oddo Can Prove His Negligent Misrepresentation Claim ............................ 24
18     CONCLUSION ............................................................................................................... 25
19
20
21
22
23
24
25
26
27
28

                                                                  i
     Case 8:15-cv-01985-CAS-E Document 319 Filed 09/20/21 Page 3 of 34 Page ID #:31012




 1                                        TABLE OF AUTHORITIES

 2     CASES
 3     Ahern v. Apple Inc.,
 4       411 F. Supp. 3d 541 (N.D. Cal. 2019) ........................................................................... 6

 5     Anderson v. Apple Inc.,
         500 F. Supp. 3d 993 (N.D. Cal. 2020) ............................................................... 8, 13, 23
 6
 7     Apodaca v. Whirlpool Corp.,
         2013 U.S. Dist. LEXIS 176363 (C.D. Cal. Nov. 8, 2013) ............................................ 3
 8
       In re Apple Inc. Device Performance Litig.,
 9         386 F. Supp. 3d 1155 (N.D. Cal. 2019) ......................................................................... 5
10
       Beyer v. v. Symantec Corp.,
11       333 F. Supp. 3d 966 (N.D. Cal. 2018) ........................................................................... 5
12
       Brand v. Nissan N. Am.,
13        2017 U.S. Dist. LEXIS 234271 (C.D. Cal. Feb. 24, 2017) ......................................... 12
14     Brothers v. Fortis Ins. Co.,
15        2004 U.S. Dist. LEXIS 16358 (N.D. Cal. Aug. 11, 2004) .......................................... 25

16     Bryde v. GM, LLC,
          2016 U.S. Dist. LEXIS 159707 (N.D. Cal. Nov. 17, 2016) ........................................ 12
17
18     Collins v. eMachines, Inc.,
         134 Cal. Rptr. 3d 588 (Cal. Ct. App. 2011) ................................................................... 4
19
       Daniel v. Ford Motor Co.,
20
         806 F.3d 1217 (9th Cir. 2015) ..................................................................................... 18
21
       Decker v. Mazda Motor Am., Inc.,
22       2011 U.S. Dist. LEXIS 124182 (C.D. Cal. Oct. 24, 2011) ........................................... 4
23
       Defrank v. Samsung Elecs. Am., Inc.,
24       2020 U.S. Dist. LEXIS 198893 (D.N.J. Oct. 26, 2020) ................................................ 4
25     Digby Adler Grp., LLC v. Mercedes-Benz U.S.A., LLC,
26        2015 U.S. Dist. LEXIS 116427 (N.D. Cal. Sept. 1, 2015) .......................................... 12
27     Dixon v. Ford Motor Co.,
          2015 U.S. Dist. LEXIS 146263 (E.D.N.Y. Sept. 30, 2015) ........................................ 19
28

                                                              ii
     Case 8:15-cv-01985-CAS-E Document 319 Filed 09/20/21 Page 4 of 34 Page ID #:31013




 1     Dreher v. PNC Fin. Servs. Grp.,
         2020 U.S. Dist. LEXIS 198677 (C.D. Cal. Sep. 23, 2020) ......................................... 20
 2
       Falco v. Nissan N. Am., Inc.,
 3        2013 U.S. Dist. LEXIS 147060 (C.D. Cal. Oct. 10, 2013) ........................................... 9
 4
       Falco v. Nissan N. Am., Inc.,
 5        2016 U.S. Dist. LEXIS 46115 (C.D. Cal. Apr. 5, 2016) ............................................. 11
 6     Glen Holly Entm’t, Inc. v. Tektronix Inc.,
 7        352 F.3d 367 (9th Cir. 2003) ....................................................................................... 19
 8     Gray v. BMW of N. Am., LLC,
 9       22 F. Supp. 3d 373 (D.N.J. 2014) ................................................................................ 12

10     Gregorio v. Ford Motor Co.,
         2021 U.S. Dist. LEXIS 37410 (E.D. Mich. Mar. 1, 2021) .......................................... 11
11
12     Hadley v. Kellogg Sales Co.,
         273 F. Supp. 3d 1052 (N.D. Cal. 2017) ....................................................................... 25
13
       Hartford Cas. Ins. Co. v. J.R. Mktg., L.L.C.,
14
         61 Cal. 4th 988 (Cal. 2015).......................................................................................... 24
15
       Hodsdon v. Mars, Inc.,
16       891 F.3d 857 (9th Cir. 2018) ......................................................................................... 5
17
       In re Intel Corp. CPU Mktg., Sales, Practices & Products Liability Litigation,
18         2020 U.S. Dist. LEXIS 53829 (D. Or. Mar. 27, 2020).................................................. 6
19     Kommer v. Ford Motor Co.,
20       2018 U.S. Dist. LEXIS 131449 (N.D.N.Y. Aug. 6, 2018) .......................................... 11

21     Kosta v. Del Monte Foods, Inc.,
         308 F.R.D. 217 (N.D. Cal. 2015)................................................................................. 17
22
23     In re Macbook Keyboard,
           2019 U.S. Dist. LEXIS 68130 (N.D. Cal. Apr. 22, 2019) ............................................. 5
24
       MacDonald v. Ford Motor Co.,
25
         37 F. Supp. 3d 1087 (N.D. Cal. 2014) ......................................................................... 12
26
       Madrigal v. Allstate Indem. Co.,
27       2015 U.S. Dist. LEXIS 193784 (C.D. Cal. Sep. 30, 2015) ......................................... 20
28

                                                              iii
     Case 8:15-cv-01985-CAS-E Document 319 Filed 09/20/21 Page 5 of 34 Page ID #:31014




 1     Majdipour v. Jaguar Land Rover N. Am., LLC,
         2013 U.S. Dist. LEXIS 146209 (D.N.J. Oct. 9, 2013) ................................................ 12
 2
       Marsikian v. Mercedes Benz USA, LLC,
 3       2009 WL 8379784 (C.D. Cal. May 4, 2009) ................................................................. 9
 4
       Matsushita Elec. Indus. Co. v. Zenith Radio Corp.,
 5       475 U.S. 574 (1986) ................................................................................................... 2, 3
 6     Milman v. FCA U.S., LLC,
 7        2019 U.S. Dist. LEXIS 125342 (C.D. Cal. Apr. 15, 2019) ......................................... 13
 8     Moore v. Mars Petcare US, Inc.,
 9       966 F.3d 1007 (9th Cir. 2020) ..................................................................................... 20

10     Morcom v. LG Elecs. USA, Inc.,
         2017 U.S. Dist. LEXIS 198935 (D.N.J. Nov. 30, 2017) ............................................. 11
11
12     Nguyen v. Nissan N. Am., Inc.,
         932 F.3d 811 (9th Cir. 2019) ................................................................................... 6, 23
13
       In re NJOY Consumer Class Action Litig.,
14
           2014 U.S. Dist. LEXIS 196586 (C.D. Cal. May 27, 2014) ........................................... 8
15
       Norcia v. Samsung Telcoms. Am. LLC,
16       2018 U.S. Dist. LEXIS 169521 (N.D. Cal. Oct. 1, 2018) ............................................. 5
17
       In re NVIDIA,
18         2009 U.S. Dist. LEXIS 108500 ..................................................................................... 4
19     Rubenstein v. The Gap, Inc.,
20       222 Cal. Rptr. 3d 397 (Cal. Ct. App. 2017) ................................................................... 4

21     Sadeghi-A v. Daimler Trucks N. Am. LLC,
          2021 U.S. Dist. LEXIS 42756 (D. Minn. Mar. 8, 2021) ............................................. 15
22
23     Salas v. Toyota Motor Sales, U.S.A., Inc.,
          2016 U.S. Dist. LEXIS 195222 (C.D. Cal. Sept. 27, 2016) .......................................... 8
24
       Sloan v. GM LLC,
25
          2020 U.S. Dist. LEXIS 71982 (N.D. Cal. Apr. 23, 2020) ..................................... 20, 21
26
       Sosenko v. LG Elecs. U.S.A., Inc.,
27        2019 U.S. Dist. LEXIS 199462 (C.D. Cal. Aug. 29, 2019) .......................................... 4
28

                                                                iv
     Case 8:15-cv-01985-CAS-E Document 319 Filed 09/20/21 Page 6 of 34 Page ID #:31015




 1     Stockinger v. Toyota Motor,
          2020 U.S. Dist. LEXIS 49943 (C.D. Cal. Mar. 3, 2020)............................................... 5
 2
       Sumer v. Carrier Corp.,
 3       2015 U.S. Dist. LEXIS 75266 (N.D. Cal. June 10, 2015) ........................................... 16
 4
       Swafford v. IBM,
 5       408 F. Supp. 3d 1131 (N.D. Cal. 2019) ....................................................................... 20
 6     Taleshpour v. Apple Inc.,
 7        2021 U.S. Dist. LEXIS 134238 (N.D. Cal. July 19, 2021) ........................................... 3
 8     Taragan v. Nissan N. Am., Inc.,
 9        2013 U.S. Dist. LEXIS 87148 (N.D. Cal. June 20, 2013) ............................................. 8

10     In re Tobacco II Cases,
          207 P.3d 20 (Cal. 2009) ............................................................................................... 18
11
12     In re Toyota Motor Corp. Unintended Acceleration Mktg., Sales Practices, & Prods.
           Liab. Litig.,
13         754 F. Supp. 2d 1145 (C.D. Cal. 2010) ....................................................................... 15
14
       In re Toyota RAV4 Hybrid Fuel Tank Litig.,
15         2021 U.S. Dist. LEXIS 69643 (N.D. Cal. Apr. 9, 2021) ........................................... 4, 9
16     Transgroup Worldwide Logistics v. Eternity Mems.,
17        2010 U.S. Dist. LEXIS 159619 (C.D. Cal. Oct. 15, 2010) ......................................... 24

18     Victorino v. FCA US Ltd. Liab. Co.,
          2018 U.S. Dist. LEXIS 32846 (S.D. Cal. Feb. 27, 2018) ............................................ 24
19
20     Williams v. Gerber Prod. Co.,
          552 F.3d 934 (9th Cir. 2008) ....................................................................................... 20
21
       Wolin v. Jaguar Land Rover N. Am., LLC,
22
         617 F.3d 1168 (9th Cir. 2010) ....................................................................................... 6
23
24
       STATUTES
25
26     Cal. Com. Code § 2801 ....................................................................................................... 3
27
28

                                                                 v
     Case 8:15-cv-01985-CAS-E Document 319 Filed 09/20/21 Page 7 of 34 Page ID #:31016




 1
 2     OTHER AUTHORITIES
 3     Fed. R. Civ. P. 54(b) ........................................................................................................... 7
 4
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                                   vi
     Case 8:15-cv-01985-CAS-E Document 319 Filed 09/20/21 Page 8 of 34 Page ID #:31017




 1                                        INTRODUCTION
 2           There is no disputing that Carrier knowingly sold air conditioners contaminated
 3     with an “unapproved” and “unauthorized” rust inhibitor that it had “conclusively”
 4     determined to be the “root cause” of a failure “epidemic.” Def Ex. 10, Ex. 23. 1 After
 5     discovering the defect, Carrier concealed it from consumers, like Mr. Oddo, because it
 6     knew that disclosing would impact its sales, and Carrier was unwilling to “
 7                  ” Ex. 48. For example, Carrier labeled service bulletins related to the defect
 8     “Confidential & Proprietary Information – Not for Further Distribution,” expressly
 9     because Carrier did not want distributors or dealers
10              ” Ex. 36, at 2.
11           The merits of this case are exceptionally strong, but in its order denying Plaintiffs’
12     renewed motion for class certification (ECF 292), the Court made two legal holdings based
13     on undisputed facts that, unless the Court changes them, are dispositive of the only
14     remaining claims in this case, which are Mr. Oddo’s individual claims.
15           The first holding is that Plaintiffs failed to come forward with sufficient evidence
16     to show that Carrier owed a duty to disclose the defect to California consumers under the
17     safety-hazard and/or central-function legal tests. The second holding is that Plaintiffs
18     failed to come forward with sufficient evidence of objective materiality – i.e., that a
19     reasonable consumer would attach importance to the defect, if it had been disclosed.
20           Mr. Oddo respectfully submits that the Court applied erroneous legal standards in
21     reaching these two holdings, discussed below. Therefore, the Court should reverse them.
22           But, unless the Court changes its mind, these two holdings are dispositive of all of
23     Mr. Oddo’s remaining individual claims because the duty to disclose and objective
24     materiality are required elements for his individual claims, and the Court’s holdings were
25     based on undisputed facts. In other words, the elements of duty to disclose and objective
26
27
       1
        Citations to “Ex.” are to exhibits attached to the Mathews Declaration in Support of
       Plaintiff’s Statement of Genuine Disputes. Citations to “Def. Ex.” are to the exhibits
28     Defendant filed with its motion for summary judgment.
                                                 1
     Case 8:15-cv-01985-CAS-E Document 319 Filed 09/20/21 Page 9 of 34 Page ID #:31018




 1     materiality are the same as to all California consumers—they do not depend on any facts
 2     specific to Mr. Oddo. Since the Court held, based on undisputed evidence, that they cannot
 3     be met as to California consumers, they cannot be met as to Mr. Oddo either.
 4            The scope of any judgment must end there, however, because every other issue on
 5     which Carrier seeks summary judgment would require resolution of disputed factual
 6     issues. There is a mountain of evidence showing that Carrier had exclusive knowledge of
 7     the defect, concealed it, and also suppressed material facts, each of which imposed a duty
 8     to disclose under the LiMandri factors. Moreover, Mr. Oddo testified in no uncertain terms
 9     that he relied on Carrier’s omission and would not have purchased the air conditioner if
10     the defect had been disclosed. The Court cannot resolve these and other disputed facts on
11     summary judgment.
12                                              ARGUMENT
13            When deciding a motion for summary judgment, “the inferences to be drawn from
14     the underlying facts . . . must be viewed in the light most favorable to the party opposing
15     the motion.” Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986).
16     Summary judgment should only be granted when a rational trier of fact would not be able
17     to find for the nonmoving party. See id.
18     I.     Mr. Oddo Can Prove His Omission Claims Based On Carrier’s Failure To
              Disclose Air Conditioner Contamination.
19
              A.     Carrier Owed A Duty to Disclose Under The Central-Function Test, If
20                   It Applies.
21            The Court held in its class certification decision that Plaintiffs could not prove that
22     Carrier owed a duty to disclose the alleged defect to California consumers under the
23     safety-hazard and/or central-defect tests. Carrier never raised this issue. Instead, the Court
24     raised it sua sponte at the hearing and ruled on it without inviting briefing.
25            Specifically, the Court held that: (1) the defect at issue “indisputably does not
26     present a safety hazard”; and (2) “[e]ven assuming arguendo that California law
27     recognizes a duty to disclose where an alleged defect . . . relates to a product’s central
28     function, . . . . [Plaintiffs’ expert] Sikorsky does not . . . opine that all, or virtually all, of
                                                    2
 Case 8:15-cv-01985-CAS-E Document 319 Filed 09/20/21 Page 10 of 34 Page ID #:31019




 1   the HVAC units containing Ryconox have, or will suffer acute failure . . . .” ECF 292, at
 2   46–47. Moreover, “the failure rate . . . may differ among the range of units that make up
 3   plaintiffs’ proposed classes, meaning that a duty to disclose, pursuant to California law,
 4   may exist as to some, but not all, of the . . . HVAC systems.” Id. at 48.
 5         The facts upon which the Court reached this conclusion were, and are, undisputed.
 6   However, as explained herein—which is the first opportunity plaintiffs have had to brief
 7   this issue, for the reason noted above—the Court applied erroneous legal standards.
 8   Therefore, Mr. Oddo respectfully submits that the Court should reverse itself. 2
 9         First, the safety-hazard requirement does not apply to defects that arise in-warranty
10   like the defect here. In Wilson v. Hewlett-Packard Co., the Ninth Circuit held that a
11   manufacturer has no duty to disclose defects arising outside of the warranty period absent
12   an unreasonable safety hazard. 668 F.3d 1136, 1143 (9th Cir. 2012). Wilson expressly
13   distinguished cases where “the defect manifested during the express warranty period,” to
14   which no safety requirement applied.3 Id. (citing Baba v. Hewlett-Packard Co., 2010 U.S.
15   Dist. LEXIS 59747 (N.D. Cal. June 16, 2010)). Courts consistently hold that “Wilson does
16   not apply to omission-based claims for malfunctions during the warranty period.”
17   Apodaca v. Whirlpool Corp., 2013 U.S. Dist. LEXIS 176363, at *18 (C.D. Cal. Nov. 8,
18   2013) (citing cases); see Taleshpour v. Apple Inc., 2021 U.S. Dist. LEXIS 134238, at *19–
19   21 (N.D. Cal. July 19, 2021) (citing a long list of cases). Here, the defect exists and arises
20   during the warranty period, which has not ended for any California consumer.4 Therefore,
21
22
     2
       The Court can reconsider its decision at any time consistent with Rules 23(c)(1)(C) and
23   54(b). Mr. Oddo understands, of course, that the Court may follow its prior holding. If so,
24   it is necessarily dispositive of his individual claims because he does not claim that Carrier
     owed him a duty different from other California consumers.
25   3
       The safety-hazard requirement derived from concern that absent such a limitation, the
26   “[f]ailure of a product to last forever would become a ‘defect,’” effectively making
     warranties perpetual. Wilson, 668 F.3d at 1141–42 (quoting Daugherty v. Am. Honda
27
     Motor Co., 51 Cal. Rptr. 3d 118, 122 (Cal. Ct. App. 2006)).
28   4
       Carrier’s warranty for California consumers is 10 years, and because these units were
     manufactured and sold in 2014 and later, all units are still under warranty until at least
                                                3
 Case 8:15-cv-01985-CAS-E Document 319 Filed 09/20/21 Page 11 of 34 Page ID #:31020




 1   there is no safety-hazard requirement.
 2         Second, even assuming the central-function test applies to in-warranty defects, it is
 3   satisfied here.
 4         Most courts do not apply the central-function test to in-warranty defects, like the
 5   defect here, but, rather, apply the traditional LiMandri test (discussed below) unadorned
 6   by any safety-hazard or central-function requirement. See, e.g., Sosenko v. LG Elecs.
 7   U.S.A., Inc., 2019 U.S. Dist. LEXIS 199462, at *9 n.2 (C.D. Cal. Aug. 29, 2019) (applying
 8   LiMandri and noting that neither the central-function nor safety tests apply to in-warranty
 9   defects). 5 In In re Toyota RAV4 Hybrid Fuel Tank Litig., 2021 U.S. Dist. LEXIS 69643,
10   at *66 (N.D. Cal. Apr. 9, 2021), for example, Judge Chen recently held that the “[safety-
11   hazard] and [central-function] tests, on the one hand, and the LiMandri test, on the other,
12   represent alternative means of pleading a pure-omission claim.”
13         Assuming the central-defect requirement applies, however, the defect at issue here
14   qualifies. The central function of an air conditioner is to provide cooling. The unauthorized
15   rust inhibitor causes loss of cooling performance in virtually all contaminated units and,
16   in many cases, it causes a complete failure.6 Ex. 1, at 42468, 42517–21; Ex. 2, at 10; Ex.
17
18   2024. Ex. 18, at ODDO031–32; Cal. Com. Code § 2801 (manufacturer cannot shorten
     warranty period based on failure to register).
19   5
       See also In re NVIDIA, 2009 U.S. Dist. LEXIS 108500, at *34 (applying LiMandri test
20   to in-warranty defect); Collins v. eMachines, Inc., 134 Cal. Rptr. 3d 588, 595 (Cal. Ct.
     App. 2011) (applying the LiMandri test to an in-warranty defect and noting that such
21   claims do not raise any concern about an “end-around the warranty laws”); Rubenstein v.
22   The Gap, Inc., 222 Cal. Rptr. 3d 397, 405 (Cal. Ct. App. 2017) (applying the LiMandri
     factors without any additional safety or central-function test); Decker v. Mazda Motor
23   Am., Inc., 2011 U.S. Dist. LEXIS 124182, at *9 (C.D. Cal. Oct. 24, 2011) (“[A]
24   manufacturer has a duty to disclose any defects that fall within the warranty period,
     whether relating to safety or to costly repairs . . . .”); Defrank v. Samsung Elecs. Am., Inc.,
25   2020 U.S. Dist. LEXIS 198893, at *28–29 (D.N.J. Oct. 26, 2020) (“California law
26   recognizes a duty to disclose defects which go to the central function of the product
     regardless of the warranty period . . . .”).
27   6
       Carrier found a reported failure rate of nearly          in 1.5- to 2.5-ton units over a period
28   of just four years—less than half the warranty period—but this is just the tip of the iceberg,
     as many failures are unreported and failures continued to occur after Carrier stopped
                                                 4
Case 8:15-cv-01985-CAS-E Document 319 Filed 09/20/21 Page 12 of 34 Page ID #:31021
 Case 8:15-cv-01985-CAS-E Document 319 Filed 09/20/21 Page 13 of 34 Page ID #:31022




 1   2020) (emphasis added).7
 2         The defect here unquestionably impacts central functionality, as it causes
 3   performance impairment in virtually all contaminated air conditioners, in addition to
 4   complete failure of many, including Mr. Oddo’s. Ex. 1, at 42468, 42521; Ex. 2, at 10; Ex.
 5   3, at 65:17–66:11, 94:19–96:3, 121:3–122:19; Ex. 4, at 10–11; Ex. 5, at ¶¶ 59–80; Ex. 81;
 6   SGD ¶¶ 98–132.
 7         Further, no matter what version of the standard applies, the central-function test
 8   does not require a 100% failure rate. The Ninth Circuit has repeatedly rejected the notion
 9   that product defect claims require a 100% manifestation rate. See, e.g., Wolin v. Jaguar
10   Land Rover N. Am., LLC, 617 F.3d 1168 (9th Cir. 2010) (overturning a lower court’s
11   decision that required proof of manifestation in a “majority” of vehicles); Nguyen v.
12   Nissan N. Am., Inc., 932 F.3d 811, 820 (9th Cir. 2019) (holding that “the sale of [a product]
13   with [a] known defect is the liability-triggering event,” and that it is not necessary to prove
14   that the defect has or will manifest in every unit).
15         The same reasoning applies with particular force to a duty to disclose because the
16
     7
       This Court cited a small minority of decisions applying an “incapable of use” standard,
17   but those decisions are consistent with recognizing a duty to disclose here. In Knowles v.
18   Arris Int’l plc, 2019 U.S. Dist. LEXIS 142293, at *47 (N.D. Cal. Aug. 20, 2019), the
     alleged computer modem defect resulted only in occasional milliseconds of delay on
19   certain tasks and an occasional need to reboot. The modems never failed completely
20   requiring repair, nor did they suffer continuous degraded performance, unlike the
     contaminated air conditioners at issue here. In affirming Knowles in an unpublished, non-
21   precedential decision, the Ninth Circuit found the alleged defect “not material” given that
22   the modems could perform most tasks without issue and had only “occasional issues” with
     certain functions. 847 F. App’x 512, 514 (9th Cir. 2021). In Ahern v. Apple Inc., 411 F.
23   Supp. 3d 541, 568 (N.D. Cal. 2019), the plaintiffs alleged that Apple failed to install a fan
24   filter on laptops, which could allow dirt to collect in the corners behind the screen, creating
     a small dark smudge. The court held that this did not “impair” computers’ central function
25   or render them unusable. Here, however, the defect frequently renders the product
26   unusable—more than           failed in less than half the warranty period—and it impairs the
     function of virtually all. The Court also cited In re Intel Corp. CPU Mktg., Sales, Practices
27
     & Products Liability Litigation, 2020 U.S. Dist. LEXIS 53829, at *49 (D. Or. Mar. 27,
28   2020), but that decision considered the “central function” and “incapable of use” tests in
     the alternative. See ECF 292, at 47–49.
                                                6
 Case 8:15-cv-01985-CAS-E Document 319 Filed 09/20/21 Page 14 of 34 Page ID #:31023




 1   duty arises at the time of sale, whereas the failure rate can only be determined, if at all, in
 2   retrospect. Thus, any attempt to pin the duty to disclose on a particular failure-rate
 3   percentage is misguided and is inconsistent with the very duty itself.8
 4         Courts, therefore, focus on the nature of the alleged defect, not on the percentage
 5   of units that will fail, which, in many cases, is totally unknown. To Plaintiff’s knowledge,
 6   no other court has ever suggested that the duty to disclose depends on failure rate. Here,
 7   even ignoring the failure rate entirely, there is more than enough evidence to establish that
 8   the unapproved rust inhibitor is a central-function defect. Just as one example,
 9                                                                           (Ex. 1, at 42468), and
10   as Carrier’s own expert admitted, anytime “the flow of refrigerant through the expansion
11   valve is restricted—for instance, due to materials depositing on the TXV pin—the
12   [performance of the air conditioner is impaired].” Def. Ex. 31 ¶ 31; Ex. 1 at 42468, 42512–
13   21; see also Ex. 81, at 34415; Ex. 3, at 99:15-100:17 (explaining Ex. 81, at 35514 the
14   testing shows—short of an acute failure—
15
16                                 ); Ex. 82, at 4, 10, 14; Ex. 22; Ex. 2, at 10; Ex. 3, at 94:19–
17   96:3; Ex. 3, at 101:5-15; Ex. 5 ¶¶ 64–80.
18         In short, the evidence is sufficient to meet the central-function test. The Court
19   should reverse its prior holding and hold that Oddo has adduced sufficient evidence to
20   prove a duty to disclose the defect to California consumers under the central-function test.9
21
22
     8
       For example, if the percentage is pegged at 5%, 10%, or even 25%, how would a
23   manufacturer know prior to sale whether the requisite number of products would later fail,
24   thereby triggering the duty at the time of sale? Further, how would a plaintiff prove the
     requisite failure rate where, like here, many failures are unreported or, as with Carrier’s
25   3- to 5-ton units, simply untracked? Pegging the duty to a failure rate percentage is
26   arbitrary and impractical in the real world. Indeed, even if there were no evidence of the
     acute failure rate here, the evidence is still enough to establish a central-function defect.
27   9
       Correspondingly, if the Court concludes, as it should, that there is enough evidence for
28   a trier of fact to find a duty to disclose under the central-function test, then it should sua
     sponte reverse its decision denying class certification to the extent based on this holding.
                                                 7
 Case 8:15-cv-01985-CAS-E Document 319 Filed 09/20/21 Page 15 of 34 Page ID #:31024




 1            B.    Carrier Owed A Duty To Disclose Under The Limandri Factors.
 2            Even if the Court reaffirms its holding that Carrier had no duty under the safety
 3   and/or central-function tests, however, it cannot grant summary judgment on the basis of
 4   the traditional LiMandri test because there is ample evidence to support a duty to disclose
 5   under those factors. At minimum, genuine issues of material fact preclude summary
 6   judgment on the LiMandri factors as to Mr. Oddo’s individual claims.
 7            Under LiMandri, a defendant has an affirmative duty to disclose: “[1] when a
 8   defendant had exclusive knowledge of material facts not known to plaintiff; [2] when a
 9   defendant actively conceals a material fact from plaintiff; or [3] when a defendant makes
10   partial representations but also suppresses some material facts.” 60 Cal. Rptr. 2d at 543.10
11            Based on the evidence summarized below, a trier of fact could reasonably conclude
12   that Carrier owed a duty under any one, or all three, of these factors. See generally SGD
13   ¶¶ 157–87.
14            As to the first factor, “courts have not defined ‘exclusive’ literally, but have found
15   such claims cognizable if the defendant had ‘superior’ knowledge of a defect that was
16   not readily apparent and there is no or only . . . limited publicly available information
17   about the defect.” Salas v. Toyota Motor Sales, U.S.A., Inc., 2016 U.S. Dist. LEXIS
18   195222, at *29 (C.D. Cal. Sept. 27, 2016) (emphasis added) (quoting Daniel v. Ford Motor
19   Co., 2016 U.S. Dist. LEXIS 65723, 2016 WL 2899026, at *4 (E.D. Cal. 2016)); see also
20   In re NJOY Consumer Class Action Litig., 2014 U.S. Dist. LEXIS 196586, at *42 (C.D.
21   Cal. May 27, 2014) (“A defendant has exclusive knowledge of material facts giving rise
22   to a duty to disclose under California law where . . . the defendant knew of a defect while
23   plaintiffs did not, and, given the nature of the defect, it was difficult to discover.”)
24   (cleaned up; emphasis added). In other words, exclusivity is not defeated if information
25   can be publicly found; rather courts examine “the nature of the product, the nature of the
26   alleged omission, and the difficulty in reasonably finding the omitted information from
27   sources other than the defendant.” Anderson v. Apple Inc., 500 F. Supp. 3d 993, 1015
28
     10
          Mr. Oddo does not contend that Carrier had a fiduciary relationship to him.
                                                  8
 Case 8:15-cv-01985-CAS-E Document 319 Filed 09/20/21 Page 16 of 34 Page ID #:31025




 1   (N.D. Cal. 2020). Here, it is easy to conclude that Carrier had superior knowledge and that
 2   there was no, or only limited or difficult to discover, publicly available information about
 3   the defect when Mr. Oddo purchased his air conditioner.
 4         As to the second factor, a defendant actively conceals a material fact when the
 5   defendant “sought to suppress information in the public domain or obscure the consumers’
 6   ability to discover it.” Taragan v. Nissan N. Am., Inc., 2013 U.S. Dist. LEXIS 87148, at
 7   *23 (N.D. Cal. June 20, 2013) (citation omitted). Active concealment can be demonstrated
 8   numerous ways, including where a manufacturer issues bulletins to repair facilities and
 9   dealerships but does not inform customers about an alleged defect. See Falco v. Nissan N.
10   Am., Inc., 2013 U.S. Dist. LEXIS 147060, at *21-22 (C.D. Cal. Oct. 10, 2013); Marsikian
11   v. Mercedes Benz USA, LLC, 2009 WL 8379784 at *14 (C.D. Cal. May 4, 2009)
12   (defendant issued internal bulletins to dealers but concealed the problem from the general
13   customer base). Here, not only did Carrier issue service bulletins without disclosing
14   anything publicly, it labeled bulletins “Confidential & Proprietary Information – Not for
15   Further Distribution,” expressly because Carrier did not want distributors or dealers
16                                         Def. Exs. 25–26, 28; Ex. 36, at 2.
17         The third factor requires a “lesser” showing than active concealment and imposes a
18   duty where a defendant manufacturer makes partial representations but also suppresses
19   material facts. See, e.g., In re Toyota RAV4 Hybrid Fuel Tank Litig., 2021 U.S. Dist.
20   LEXIS 69643, at *72 (N.D. Cal. Apr. 9, 2021) (holding that disclosure of fuel tank size
21   while failing to disclose that the tanks cannot, in practice, be filled to capacity could
22   constitute suppression of material fact). Once again, suppression is easily demonstrated
23   here because, even if Carrier’s bulletins could be considered a disclosure, Carrier
24   concealed material information about the defect. Carrier also made affirmative
25   representations concerning the SEER ratings of its air conditioners
26
27                                                   See, e.g., SGD ¶¶ 185–97.
28         Beginning with knowledge, there is no question Carrier was aware that the air

                                               9
 Case 8:15-cv-01985-CAS-E Document 319 Filed 09/20/21 Page 17 of 34 Page ID #:31026




 1   conditioner Mr. Oddo purchased was contaminated with the “unapproved” rust inhibitor,
 2   Ryconox. Ex. 2, at 17–18; Ex. 28; Ex. 29. By August 2014, Carrier had determined
 3   “conclusively” that Ryconox was the “root cause” of widespread sticky debris forming on
 4   the TXVs of new air conditioning systems. Ex. 2, at 17. In Carrier’s words, it caused an
 5   “                  ” rate. Ex. 23. In August 2014, Carrier was projecting a            failure
 6   rate. Ex. 21.11 Carrier’s records show that TXV failures increased at least        in the first
 7   year alone due to Ryconox. Ex. 5 ¶ 61.
 8         Mr. Oddo purchased his air conditioner from a Carrier distributor, United
 9   Refrigeration, on May 4, 2015. Ex. 24 (Oddo Aff.) ¶ 14; Ex. 25. Mr. Oddo builds and
10   repairs medical laboratory refrigeration equipment for a living. Ex. 24 ¶ 3. He is highly-
11   trained and knowledgeable about cooling technology.12 Ex. 24 ¶¶ 3–5; Ex. 26 (Oddo Tr.),
12   14:12–23, 22:20–23:15, 25:2–27:17. He spent six months researching his purchase,
13   reviewed Carrier’s website, reviewed a Carrier brochure, discussed his purchase with the
14   distributor, and saw the product labeling. Ex. 24 ¶¶ 8–10, 14; Ex. 26, at 66:24–67:22;
15   73:14–75:14; Ex. 27, at 6–11. The contamination defect was never revealed to Mr. Oddo
16   in any form prior to his purchase. Ex. 24 ¶¶ 11–14.
17         Carrier does not contend that it actually made any effort to disclose the defect to
18   consumers. Instead, it contends that it made a disclosure in just one place: service bulletins
19   made available to distributors and dealers. Br. 9–11. But service bulletins do not
20   constitute, nor did Carrier intend them to be, a disclosure to consumers. On the contrary,
21   Carrier actively attempted to conceal them from the public.
22         First, as Carrier’s designee testified, service bulletins are “not intended to be
23
24   11
        Although Exhibit 21 has a header indicating it was prepared on January 13, 2018, this
     was automatically generated when the document was printed by counsel. The document
25   was created in August 2014. Ex. 104.
26   12
        Mr. Oddo is also licensed to handle refrigerant, which is the only license he needed to
     install his own air conditioner under California law. Ex. 26, at 22:11–15; Ex. 24 ¶ 3–4;
27
     Ex. 10 ¶ 13. Carrier has repeatedly and falsely claimed that he is “unlicensed,” but that is
28   simply not true. In any event, the omission claims at issue arise out of the purchase of his
     air conditioner—not its installation.
                                               10
 Case 8:15-cv-01985-CAS-E Document 319 Filed 09/20/21 Page 18 of 34 Page ID #:31027




 1   communicated . . . outside of our distributors and our dealers.” Ex. 3, at 141:5–9. In a 2014
 2   email, Carrier plainly instructed its dealers and distributors that they “
 3                                                       ” Ex. 30.
 4         Carrier’s designee further explained that the bulletins are not intended to be product
 5   quality disclosures but, instead, merely instructed service personnel how to fix the issue
 6   when it does occur. Ex. 3, at 139:1–7 (“[F]rom a dealer perspective, … “they wanted to
 7   know how to fix the issue when it does occur”); id. at 145:14–22 (confirming that the
 8   bulletins “deal with fixing a failure”.)
 9         The fact that they are not intended to be consumer disclosures is also evident from
10   the highly technical language used in the bulletins, incomprehensible to most consumers,
11   which describes the “situation” as “[o]ngoing testing and report from the field indicate
12   that Thermostatic Expansion Valves (TXV) in 1.5, 2 and 2.5 ton indoor coils installed
13   with the above listed condensing units may not maintain the correct SuperHeat (SH) in
14   certain situations.” See Def. Exs. 25–28.
15         Not surprisingly, Courts routinely hold that service bulletins distributed to repair
16   personnel do not constitute consumer disclosures and do not defeat exclusive
17   knowledge—even when they can be found online by someone who spends time searching.
18   See, e.g., Gregorio v. Ford Motor Co., 2021 U.S. Dist. LEXIS 37410, at *32 (E.D. Mich.
19   Mar. 1, 2021) (“[J]ust because consumers may have been able to find some information,
20   like consumer complaints (or even service bulletins) online does not defeat the fact that
21   Ford had exclusive knowledge.”); Falco v. Nissan N. Am., Inc., 2016 U.S. Dist. LEXIS
22   46115, at *22 (C.D. Cal. Apr. 5, 2016) (granting class certification and rejecting
23   defendants’ argument that service bulletins freely available on the internet could raise
24   individual knowledge issues); Morcom v. LG Elecs. USA, Inc., 2017 U.S. Dist. LEXIS
25   198935, at *32–33 (D.N.J. Nov. 30, 2017) (upholding concealment claims where a defect
26   was described in a service bulletin but not disclosed to consumers); Kommer v. Ford
27   Motor Co., 2018 U.S. Dist. LEXIS 131449, at *9 (N.D.N.Y. Aug. 6, 2018) (upholding
28   claims where alleged defect was described in service bulletins but not distributed

                                                 11
 Case 8:15-cv-01985-CAS-E Document 319 Filed 09/20/21 Page 19 of 34 Page ID #:31028




 1   widely). 13
 2          Indeed, the existence of service bulletins is frequently held to be evidence of
 3   exclusive knowledge—it does not disprove exclusive knowledge. See, e.g., Bryde v. GM,
 4   LLC, 2016 U.S. Dist. LEXIS 159707, at *29 (N.D. Cal. Nov. 17, 2016) (finding allegation
 5   of exclusive knowledge was supported by the existence of a service bulletin); Brand v.
 6   Nissan N. Am., 2017 U.S. Dist. LEXIS 234271, at *28 (C.D. Cal. Feb. 24, 2017) (same). 14
 7          Second, Carrier actively attempted to conceal its service bulletins by labeling them
 8   “Confidential & Proprietary Information – Not for Further Distribution” expressly
 9   because Carrier did not want distributors or dealers “
10             ”15 Def. Ex. 24–26, 28; Ex. 36, at 2. As Carrier explained to a distributor, the
11   confidentiality statement “
12
13           ” Ex. 30 (emphasis added).
14
     13
        In fact, in its opposition to class certification, Carrier conceded the point when it
15   affirmatively argued that the “existence of bulletins . . . does nothing to establish that
16   information from a manufacturer passes uniformly through the distribution chain to a
     consumer prior to the consumer’s decision to purchase the product.” ECF 236, at 18.
17   14
        See also Digby Adler Grp., LLC v. Mercedes-Benz U.S.A., LLC, 2015 U.S. Dist. LEXIS
18   116427, at *6 (N.D. Cal. Sept. 1, 2015) (same); MacDonald v. Ford Motor Co., 37 F.
     Supp. 3d 1087, 1095 (N.D. Cal. 2014) (same); Gray v. BMW of N. Am., LLC, 22 F. Supp.
19   3d 373, 383 (D.N.J. 2014) (same); Majdipour v. Jaguar Land Rover N. Am., LLC, 2013
20   U.S. Dist. LEXIS 146209, at *50 (D.N.J. Oct. 9, 2013) (same).
     15
         Most of the bulletins Carrier attaches cannot constitute a disclosure about air
21   conditioners because they do not refer to air conditioners at all. Carrier’s Exhibits 11–24,
22   which are pre-October 2014 bulletins, refer solely to Residential Furnace Coils, not air
     conditioners. Carrier did not issue any bulletins referencing air conditioners until October
23   23, 2014, and they were labeled “Confidential & Proprietary Information – Not for Further
24   Distribution.” Def. Exs. 25–26, 28. There is only a single post-October 2014 “Dealer
     Bulletin” in the record that is not so labeled (“Dealer Bulletin D047”), Def. Exs. 27 & 36,
25   but as explained by Carrier’s designee, these Dealer Bulletins were distributed to dealers,
26   if at all, only by the local distributors, Ex. 33, at 70:19-25, and the corresponding
     distributor version of that bulletin (“Service Bulletin S047”) was marked “Confidential &
27
     Proprietary Information – Not for Further Distribution,” Def. Ex. 26. Of course, even if
28   Carrier inadvertently failed to mark one bulletin “Confidential,” that does not change the
     fact that Carrier undertook efforts intended to conceal the defect from the public.
                                              12
 Case 8:15-cv-01985-CAS-E Document 319 Filed 09/20/21 Page 20 of 34 Page ID #:31029




 1         Additionally, Carrier prohibits
 2                                                                                     ” Ex. 31, at
 3   ¶ 3.9; Ex. 32, at ¶ 2.2.12. Thus, confidential or not, distributors could not disclose the
 4   bulletins publicly unless Carrier had done so, which it did not.
 5         Carrier knew that if information about the defect became public it would impact
 6   Carrier’s sales, Ex. 3, at 144:14–145:13, and, therefore, it actively concealed it.
 7         Third, consistent with Carrier’s intent, the bulletins were not widely available to
 8   the public. Mr. Oddo’s extensive pre-purchase research did not turn up anything about the
 9   bulletins or the defect. Ex. 24 ¶ 11–14. Mr. Oddo only found a copy of bulletin in August
10   2015, after his unit failed, and that required “extensive” searches, first, to find website
11   where air conditioner service professionals “hang out” and, then, by searching those sites
12   in an effort to determine why the TXV in his new air conditioner had failed. Ex. 26, at
13   187:12–188:2; Ex. 24 ¶ 19; see Anderson, 500 F. Supp. 3d at 1015 (“[T]he mere online
14   availability of the information does not necessarily doom an exclusive knowledge
15   claim.”). Mr. Oddo testified that his distributor “knew absolutely nothing about [the
16   bulletin],” when Mr. Oddo brought it to the distributor’s attention in August 2015. 16 Ex.
17   26, at 190:12–191:10. This was not a situation where the information was “easily
18   accessible in the public domain” prior to his purchase—indeed, his distributor professed
19   to not know about it a full year after Carrier “conclusively” identified the defect. 17 See Ex.
20
21   16
        Carrier claims that United Refrigeration had the bulletin because they produced it in
22   response to a subpoena, Ex. 36, but that response came from United Refrigeration’s
     headquarters in Pennsylvania, and there is also no evidence in the record when they
23   received it, or that the United Refrigeration branch in Santa Ana, California had the
24   bulletin when Mr. Oddo bought his system. See Ex. 105, at 1.
     17
        In fact, Carrier knew that its service bulletins were often overlooked by distributors and
25   dealers because, consistent with the fact that the service bulletins are intended only to
26   instruct service personnel “how to fix the issue when it does occur,” Carrier’s process for
     distributing service bulletins generally requires distributors and dealers to log in to a
27
     Carrier website to locate and view the service bulletins. Ex. 3, at 139:1–7; id. at 31:24–
28   34:3; Ex. 33, at 13:16–14:8. Carrier admitted in its opposition to class certification that
     distributor and dealer knowledge of bulletins “varies significantly.” ECF 236, at 28.
                                                13
 Case 8:15-cv-01985-CAS-E Document 319 Filed 09/20/21 Page 21 of 34 Page ID #:31030




 1   2, at 17; cf. Milman v. FCA U.S., LLC, 2019 U.S. Dist. LEXIS 125342, at *16 (C.D. Cal.
 2   Apr. 15, 2019) (holding that the allegations in the complaint made clear that information
 3   about the defect was easily accessible in the public domain before the plaintiff purchased
 4   her vehicle).
 5            Fourth, the bulletins themselves concealed highly material information about the
 6   defect. Thus, even if they could be taken as some disclosure, they suppressed other
 7   material information about the defect. For one, no bulletin ever disclosed the failure rate.
 8   Carrier internally projected a             failure rate but suppressed that information. 18 Ex.
 9   21; Ex. 3, at 121:3–122:19. Carrier’s affiliated distributor, Carrier Enterprises (“CE”),
10   expressed that they were “
11               ” and asked, point blank, “                         ” 19 Ex. 37. But Carrier refused
12   to answer, stating: “                                                                       .” Id.
13   Carrier never disclosed this in bulletins because Carrier did not want to get
14                  ” from distributors. Ex. 46, at 1. Carrier was not willing to “
15                                         .” Ex. 48, at 1. As Carrier’s designee testified, the
16   bulletins simply “provided [dealers] the information needed to remedy the issue in the
17   field.” Ex. 3, at 121:3–122:19 (emphasis added).
18            Carrier also never disclosed the fact that the contaminated systems could suffer
19   decreased performance even in the absence of an acute failure. Carrier’s
20                                                                       Ex. 1 at 42468, 42517–21.
21   And, as Carrier’s own expert admitted, anytime “the flow of refrigerant through the
22   expansion valve is restricted—for instance, due to materials depositing on the TXV pin—
23   the [performance of the air conditioner is impaired].” Def. Ex. 31 ¶ 31. Many systems
24   tested by Carrier showed
25                        Ex. 5 ¶¶ 66–69; Ex. 2, at 8, 10; Ex. 82, at 4, 10, 14; Ex. 81; Ex. 106.
26   Carrier suppressed the potential for performance loss in the absence of complete failure.
27
28   18
          Carrier also refuses to allow public dissemination of the failure rate in this case.
     19
          CE accounts                                   . Ex. 33, at 39:7.
                                                  14
 Case 8:15-cv-01985-CAS-E Document 319 Filed 09/20/21 Page 22 of 34 Page ID #:31031




 1         Carrier also never disclosed that the contamination could impact other parts of the
 2   system even though Carrier’s designee conceded, “anytime you have refrigerant not
 3   flowing correctly, it’s a risk to . . . the compressor and other parts of the system.” Ex. 3,
 4   at 106:23–107:9.
 5         Carrier knew perfectly well that it’s bulletins were not fully forthcoming, as they
 6   did not even disclose the affected component (the compressor)                               .
 7   Carrier’s supply chain director, Ripley Ross, indicated that                           these
 8   bulletins to add         and                                                      Ex. 38, at
 9   44304; see also Ex. 70, at 1 (Carrier’s bulletins could
10                                              ). In short, Carrier both actively concealed the
11   defect and suppressed material facts. See In re Toyota Motor Corp. Unintended
12   Acceleration Mktg., Sales Practices, & Prods. Liab. Litig., 754 F. Supp. 2d 1145, 1192
13   (C.D. Cal. 2010) (“Toyota actively concealed the real reason for the recall and concealed
14   the fact that floor mats were not the only culprit.”).
15         Moreover, as discussed more fully below, the bulletins suppressed material
16   information about the “solution” of injecting A/C Re-New. The bulletins stated that the
17   “SOLE solution” to remedy stuck TXVs was to inject an additive, A/C Re-New, but the
18   bulletins failed to disclose that the additive is extremely harmful, and that the only way to
19   repair the defect without harming the system involves complicated and expensive
20   replacement of many parts, including the compressor. See infra Section II; Def. Exs. 24–
21   28; Ex. 5 ¶¶ 131–41.
22         So, even if bulletins could be deemed a disclosure at all, they were misleading
23   because they made a partial disclosure while suppressing other material information about
24   the defect and the recommended solution. See, e.g., Sadeghi-A v. Daimler Trucks N. Am.
25   LLC, 2021 U.S. Dist. LEXIS 42756, at *41–42 (D. Minn. Mar. 8, 2021) (upholding claims
26   where a service bulletin provided partial and misleading information about a defect and
27   repair solution).
28         Fifth, concealment and suppression is evident in the fact that Carrier never advised

                                                15
 Case 8:15-cv-01985-CAS-E Document 319 Filed 09/20/21 Page 23 of 34 Page ID #:31032




 1   its distributor and dealers to make any disclosure to consumers, never made a disclosure
 2   in any of the extensive marketing materials it provides distributors and dealers, never made
 3   a disclosure in its direct-to-consumer advertising, and never made a disclosure in any of
 4   the direct-to-consumer written materials it provides with the air conditioners nor on the
 5   air conditioners themselves. See, e.g., Ex. 43, at 45212; Ex. 44, at 44103; Ex. 45, at 92;
 6   Ex. 33, at 117:14–121:21; SGD ¶¶ 164-168. Carrier can and does regularly provide
 7   product information through all of those channels.20 That Carrier did not do so here
 8   demonstrates that it intended to conceal the defect from consumers.
 9           Carrier’s motive for concealment and suppression is obvious, but Carrier also
10   admitted it. Carrier wanted to offload its inventory of contaminated compressors and
11   admitted that full disclosure would impact sales and                                         .
12   See Ex. 3, at 144:14-145:13; Ex. 46. Carrier also quickly recognized that it did not have
13   enough alternative inventory and that some of its distributors would need to sell affected
14   units                                                                           Ex. 47. Even
15   after Carrier started manufacturing “clean” air conditioners in September 2014, however,
16   Carrier employees confided that they needed
17                                 because Carrier did not want to get
18                    . Ex. 46, at 1. Carrier was not willing to
19                  Ex. 48, at 1. So, further to that goal, Carrier’s bulletins merely described
20   how to fix a stuck TXV while concealing highly material information. See Ex. 3, at 121:3–
21   122:19; SGD ¶¶ 157–84.
22
23   20
       Carrier has required dealers to obtain consumer signatures to verify that information had
24   been disclosed, but it did not do so here. Ex. 39, at 7 of 11. Carrier has also provided a
     consumer-facing flier with each unit, but it did not do so here. See Sumer v. Carrier Corp.,
25   2015 U.S. Dist. LEXIS 75266, at *6 (N.D. Cal. June 10, 2015). Carrier has provided
26   template letters for dealers give homeowners about a specific defect, but it did not do so
     here. Ex. 40, at 2. And in many situation Carrier simply instructs its distributors and
27
     dealers to disclose information, but again it did not do so here. Ex. 41 (bulletin instructing
28   dealers that “the customer must be informed” of system capacity reductions); Ex. 42, at 3
     (requiring dealers to “[d]iscuss [a] situation with the homeowner”).
                                               16
 Case 8:15-cv-01985-CAS-E Document 319 Filed 09/20/21 Page 24 of 34 Page ID #:31033




 1          Finally, Carrier disclosed on product information provided to Mr. Oddo that his air
 2   conditioner was capable of achieving an energy efficiency of 16 SEER, but Carrier failed
 3   to disclose that in its tests,
 4                                       21
                                              SGD ¶¶ 185–87. Thus, Carrier suppressed material
 5   information about the SEER rating too.22
 6          Given all of these facts, a trier of fact could readily conclude that one or more
 7   LiMandri factors is met.
 8          C.     Mr. Oddo Relied On Carrier’s Omissions.
 9          The Court also cannot grant summary judgment as to Mr. Oddo’s individual
10   reliance. He has testified that he relied on Carrier’s omissions and would not have
11   purchased the air conditioner if the defect had been disclosed, which is sufficient evidence.
12          Nevertheless, if the Court reaffirms its class certification holding as to objective
13   materiality, which is a proxy for reliance on a classwide basis, that too is dispositive of
14   Mr. Oddo’s individual claims because objective materiality is an independent element of
15   his claims.23 Once again, however, the Court should reverse its prior holding.
16          At the class certification stage, objective materiality—i.e., whether a reasonable
17   consumer would view a defect as material—serves as a proxy for reliance. In its class
18   certification decision, the Court held that Plaintiffs failed to present sufficient evidence of
19   objective materiality because, although Plaintiffs’ survey evidence demonstrated that the
20   vast majority of air conditioner purchasers would have viewed the defect as material and
21   changed their purchasing behavior if the defect had been disclosed to them, Ex. 50 at 4–
22
     21
        SEER rating is based, in part, on the operation of the air conditioner at “DOE B”
23   conditions. Ex. 3, 55:10–58:16; Ex. 10 ¶ 66; Ex. 5 ¶ 76. In Carrier’s testing,
24                                                                                 E.g., Ex. 3, at
     65:23–66:1; Ex. 2, at 10; Ex. 49; Ex. 10 ¶ 66; Ex. 5 ¶¶ 48, 67.
25   22
        This claim is not based on an affirmative misrepresentation. Rather, it is an omission
26   claim based on Carrier’s failure to disclose material facts, which the Court did not dismiss.
     ECF 57, at 31, 39. It is the omitted facts that matter.
27   23
        See, e.g., Kosta v. Del Monte Foods, Inc., 308 F.R.D. 217, 224 (N.D. Cal. 2015)
28   (objective materiality is an element of CLRA, FAL, UCL, and other claims, separate from
     reliance).
                                                 17
Case 8:15-cv-01985-CAS-E Document 319 Filed 09/20/21 Page 25 of 34 Page ID #:31034
 Case 8:15-cv-01985-CAS-E Document 319 Filed 09/20/21 Page 26 of 34 Page ID #:31035




 1   purchase had everything to do with his pre-existing relationship with United Refrigeration.
 2   Br. 13–14. That is not true. In reality, Carrier’s attorneys simply never asked Mr. Oddo at
 3   his deposition what he would have done if the defect had been disclosed to him.
 4          None of his deposition testimony contradicts Mr. Oddo’s testimony that he would
 5   not have purchased the air conditioner if the defect had been disclosed.
 6        • That he had a pre-existing relationship with United Refrigeration is immaterial. He
 7          had relationships with other distributors too, including Johnstone Supply from
            which he purchased A/C Re-New in 2015. Ex. 26, at 31:19–32:4; 35:18–36:5;
 8          192:18–193:1. Had the defect been disclosed he would have demanded a non-
 9          contaminated unit from United Refrigeration or purchased another brand from one
            of the distributors with whom he has had business dealings. Ex. 24 ¶ 11.
10
          • That he bought the air conditioner on sale is also immaterial because he has
11          testified that he would not have bought it if the defect was disclosed regardless of
            the sale. Id. at ¶ 15. Moreover, the discount he received was a standardized discount
12
            off the list price, not a negotiated price. Id.
13
          • Further, the fact that he understands “it is a fact of life” air conditioners sometimes
14          need repair is also immaterial. 25 The air conditioner he purchased had a specific,
            known defect that created an exceptionally high chance of failure and
15
                                                . See, e.g., Ex. 2, at 10; Ex. 3, at 65:17–66:11;
16          SGD ¶¶ 98–120. Efficiency was one of the most important factors to Mr. Oddo,
            and “quality” was the “single factor that dominated [his decision].” Ex. 26, at
17
            99:21–100:4; Ex. 24 ¶ 9–10.
18
            Carrier cannot simply dismiss with a wave of the hand Mr. Oddo’s testimony that
19
     he would not have purchased the air conditioner if the defect had been disclosed. Carrier’s
20
     argument is meritless.26
21
22
23   25
        In Dixon v. Ford Motor Co., 2015 U.S. Dist. LEXIS 146263, at *24-25 (E.D.N.Y. Sept.
24   30, 2015), the court rejected a substantially similar argument, finding the defendant’s
     argument that “the warranty specifically states that defendant does not guarantee a defect-
25   free vehicle” was “not convincing” where, like here, the defendant failed to disclose a
26   specific, known defect.
     26
        The only caselaw Carrier cites is readily distinguishable. In Glen Holly Entm’t, Inc. v.
27
     Tektronix Inc., 352 F.3d 367, 379–80 (9th Cir. 2003), the court held that certain alleged
28   false statements could not be the basis for reliance because the statements were made after
     the plaintiff made the relevant decision.
                                                19
 Case 8:15-cv-01985-CAS-E Document 319 Filed 09/20/21 Page 27 of 34 Page ID #:31036




 1         D.        Carrier Intended To Defraud Consumers.
 2         There is also ample evidence of Carrier’s intent to defraud. Therefore, the Court
 3   cannot grant summary judgment on this ground either.
 4         Evidence of intent to defraud is required only for Mr. Oddo’s fraudulent
 5   concealment claim.27 For that claim, circumstantial evidence is enough to establish an
 6   inference of intent. See, e.g., Dreher v. PNC Fin. Servs. Grp., 2020 U.S. Dist. LEXIS
 7   198677, at *18 (C.D. Cal. Sep. 23, 2020). “Questions of intent are normally questions of
 8   fact properly reserved for the jury.” Sloan v. GM LLC, 2020 U.S. Dist. LEXIS 71982, at
 9   *54 (N.D. Cal. Apr. 23, 2020).
10         In Sloan, 2020 U.S. Dist. LEXIS 71982, at *53–54, the court held that a reasonable
11   juror could conclude that “GM intended to deceive customers in order to induce them to
12   purchase GM vehicles” based on evidence that (1) “GM may have been motivated to
13   withhold information . . . because of a desire to make profit”; or (2) GM was aware “that
14   many GM customers rated ‘Reliability/Durability’ as the most important factor in their
15   purchase decision about which vehicle to purchase,” so “GM might have concluded that
16   releasing information about engine defects would have reduced customers’ perceptions
17   about the reliability and durability of their vehicles and reduced sales.” At minimum, the
18   same is true here.
19         As stated above, Carrier concealed the defect because, inter alia, it: wanted to
20   offload its inventory of contaminated compressors to make a profit; knew that disclosure
21   of the defect                                                              ; did not have
22
23
     27
        Proof of intent to defraud is not necessary for Mr. Oddo’s UCL, FAL, CLRA, and
     negligent misrepresentation claims; mere negligence is enough. See Moore v. Mars
24   Petcare US, Inc., 966 F.3d 1007, 1019 n.11 (9th Cir. 2020); see also Williams v. Gerber
25   Prod. Co., 552 F.3d 934, 938 (9th Cir. 2008) (cleaned up) (noting those “California
     statutes are governed by the reasonable consumer test” wherein a plaintiff need only
26   “show that members of the public are likely to be deceived”); Madrigal v. Allstate Indem.
27   Co., 2015 U.S. Dist. LEXIS 193784, at *54 n.14 (C.D. Cal. Sep. 30, 2015) (citing
     Anderson v. Deloitte & Touche, 66 Cal. Rptr. 2d 512, 516 (Cal. Ct. App. 1997)); Swafford
28   v. IBM, 408 F. Supp. 3d 1131, 1148 (N.D. Cal. 2019).
                                              20
 Case 8:15-cv-01985-CAS-E Document 319 Filed 09/20/21 Page 28 of 34 Page ID #:31037




 1                                ; and was not willing to “
 2          ” See Exs. 46–48. Carrier was very clear that it did not want its distributors or
 3   dealers sharing the bulletins with consumers. See, e.g., Ex. 30. Also, like in Sloan, Carrier
 4   knew from its own
 5                                    . Ex. 51, at 12; see also Ex. 45, at 14, 72. Given the
 6   evidence here, a trier of fact could reasonably conclude that Carrier intended to deceive
 7   consumers, including Mr. Oddo.
 8   II.   The Court Cannot Grant Summary Judgment On Claims For Omission
           Related To A/C Re-New Because No Such Claims Were Ever Asserted.
 9
10         Carrier also asks the Court to grant judgment “[t]o the extent Oddo is asserting
11   claims based on alleged omissions related to the Zerol Ice additive . . . .” Br. at 16. But
12   Mr. Oddo has never asserted omission claims related to Zerol Ice (also known as A/C Re-
13   New). His omission claims derive from Carrier’s failure to disclose the rust inhibitor
14   contamination in connection with the sale of the air conditioners—not Carrier’s
15   subsequent advice to inject Zerol Ice when the original defect caused a failure.28 The Court
16   cannot enter judgment on a claim never asserted.
17         Zerol Ice is relevant to Mr. Oddo’s omission claims in only one respect, as stated
18   above: Carrier’s bulletins actively concealed and/or suppressed material information
19   about the rust inhibitor defect because they stated that the “SOLE solution” to failures
20   caused by the rust inhibitor was to inject Zerol Ice, but never disclosed that Carrier knew
21   injecting Zerol Ice is extremely harmful and that only the non-harmful solution is to
22   remove the rust inhibitor from the system, which requires costly replacement of many
23   parts. See, e.g., Def. Exs. 25–28; Ex. 5 ¶¶ 142–78; SGD ¶¶ 133–56. This is not a “claim”
24   for omission pertaining to Zerol Ice, but rather evidence of suppressed material
25   information related to the underlying rust inhibitor defect, which satisfies LiMandri.
26         As discussed above, suppression of material information about the means of
27   28
       Mr. Oddo did assert breach of warranty claims based on the fact that injecting Zerol Ice
28   was not in compliance with Carrier’s warranty obligations, but the Court dismissed those
     claims at the motion to dismiss stage. ECF 57, at 13, 26.
                                               21
 Case 8:15-cv-01985-CAS-E Document 319 Filed 09/20/21 Page 29 of 34 Page ID #:31038




 1   repairing the defect was just one of many facts giving rise to a duty under the LiMandri
 2   factors. Even if there was no evidence of the harm caused by Zerol Ice, the LiMandri test
 3   would still be met. Nevertheless, Carrier’s self-serving conclusory statement that Zerol
 4   Ice is not harmful is easily belied by the mountain of evidence showing that Zerol Ice is
 5   extremely harmful.
 6         Extensive testing shows that Zerol Ice causes
 7
 8                                                                                  Exs. 54–55;
 9   Ex. 56, at 5565; Ex. 57, at 6, 13; Exs. 58, 59; Ex. 60, at 3; Ex. 5 ¶¶ 142–68; SGD ¶¶ 133–
10   56.
11         Perhaps most telling is that Carrier told the manufacturer of Zerol Ice that Carrier
12   was only using it to
13                                                         Ex. 61, at SCP000317. And Emerson
14   admitted that the “
15                                                      . Id.
16         Nor is it true that “Oddo cannot identify a single issue with his unit attributable to
17   Zerol Ice.” Br. at 18. Mr. Oddo’s own testing showed that his air conditioner never fully
18   recovered performance after it was injected with Zerol Ice. Ex. 26, at 200:17–203:19.
19   Further, he testified that his compressor is now extremely noisy (consistent with premature
20   compressor wear) and that the system shows signs of liquid refrigerant returning to the
21   compressor, which is very harmful and likely the result of continued debris at the TXV.
22   Ex. 24 ¶ 23. Moreover, in a recent test he found that the TXV is not fully closing, likely
23   due to continued rust-inhibitor debris, which has a significant negative effect on
24   performance and efficiency. Id. at ¶ 25. Thus, Zerol Ice did not actually fix the problem
25   and created new ones. See generally Ex. 5 ¶¶ 142–68.
26         Carrier seeks to capitalize on the fact that damage caused by Zerol Ice cannot be
27   confirmed without performing destructive testing by arguing that Mr. Oddo and his expert,
28   Mr. Sikorsky, cannot point to any specific damage caused by Zerol Ice. That argument is

                                              22
 Case 8:15-cv-01985-CAS-E Document 319 Filed 09/20/21 Page 30 of 34 Page ID #:31039




 1   disingenuous. To confirm the damage (i.e.,
 2                               in any particular unit, one would need to “tear-down” the
 3   compressor, which is hermetically sealed, thereby destroying it. Ex. 10 ¶ 22. 29 But Mr.
 4   Oddo does not need to destroy his own compressor to prove that Zerol Ice is harmful
 5   because
 6          Exs. 54–55, 65; Ex. 5 ¶ 154. Carrier’s and Emerson’s
 7                                                                                       Ex. 56,
 8   at 5565; Ex. 57, at 6, 13; Exs. 58, 59; Ex. 60, at 3.
 9          In short, the Court cannot grant summary judgment on any issue related to Zerol
10   Ice, first, because Mr. Oddo does not make a claim for omission based directly on Zerol
11   Ice and, second, because ample evidence shows that it is harmful.
12   III.   Mr. Oddo Can Prove His Unjust Enrichment Claims.
13          Mr. Oddo has already conceded that the Court’s holdings as to materiality and duty
14   to disclose, unless reversed, are dispositive of his claims, including his unjust enrichment
15   claim because, as the Court recognized, “in California, there is not a standalone cause of
16   action for unjust enrichment.” ECF 57, at 37 (cleaned up) (quoting Astiana v. Hain
17   Celestial Grp., Inc., 783 F.3d 753 (9th Cir. 2015)). The Court cannot enter judgment on
18   his unjust enrichment claims on the additional grounds that Carrier seeks, however.
19          First, Mr. Oddo does not have an adequate remedy at law because, absent equitable
20   relief, he cannot recover the full cost to repair his air conditioner today. A plaintiff can
21   seek equitable relief when he cannot recover his full damage at law. See Anderson v. Apple
22   Inc., 500 F. Supp. 3d 993, 1009–10 (N.D. Cal. 2020). For his omission claims, Mr. Oddo
23   is entitled to recover damages equal to the amount it would have cost, at the time of his
24   purchase, to render his defective air conditioner non-defective—i.e., the cost of repair at
25
26   29
       Carrier claims that its expert found no actionable amounts of acid in Mr. Oddo’s system,
     but its expert’s “acid test” did not test for the type of acid that would be expected as a
27
     result oil breakdown due to A/C Re-New, nor did Mr. Schneyer conduct a tear-down test
28   of Mr. Oddo’s compressor to observe pre-mature compressor wear or copper plating. Ex.
     10 ¶¶ 21–22.
                                                23
 Case 8:15-cv-01985-CAS-E Document 319 Filed 09/20/21 Page 31 of 34 Page ID #:31040




 1   the time of purchase. Nguyen, 932 F.3d at 822. However, as Plaintiffs’ expert testified, the
 2   cost to repair Mr. Oddo’s unit today is “significantly higher than at the time of purchase,
 3   since the [rust inhibitor] has spread from the outdoor unit, through the lineset, to the indoor
 4   unit.” Ex. 10 ¶ 118; Ex. 5 ¶ 103. So, his damages recoverable at law are insufficient to
 5   make him whole. Further, pursuant to Carrier’s instructions, Mr. Oddo’s air conditioner
 6   was injected with Zerol Ice, which is even more costly to repair. Ex. 5 ¶¶ 169–78; Ex. 24
 7   ¶ 21. These costs are recoverable, however, as equitable relief via Mr. Oddo’s claim for
 8   unjust enrichment because Carrier unjustly benefitted by selling the defective air
 9   conditioner and by not performing adequate repairs.
10         For similar reasons, the existence of Carrier’s warranty is immaterial. A warranty
11   does not invalidate an unjust enrichment claim where the dispute is beyond the scope of
12   the warranty. See Hartford Cas. Ins. Co. v. J.R. Mktg., L.L.C., 61 Cal. 4th 988, 999 (Cal.
13   2015) (“[I]t would be unjust for the insured to retain the benefit of the insurer paying for
14   defense costs that are beyond the scope of the insurance contract.”); Victorino v. FCA US
15   Ltd. Liab. Co., 2018 U.S. Dist. LEXIS 32846, at *38 (S.D. Cal. Feb. 27, 2018) (“These
16   facts raise triable issues whether FCA’s express warranty coverage includes the Clutch
17   System.”). Here, the warranty covers parts only, not the full cost of repair. Carrier was
18   unjustly enrichment by selling defective air conditioners without disclosing a known
19   defect, while also knowing that its warranty would not cover the cost of repair.
20         Based on all the evidence discussed herein, a juror could find that it is unjust for
21   Carrier to retain the benefits that Mr. Oddo bestowed upon it in addition to awarding other
22   damages. See Transgroup Worldwide Logistics v. Eternity Mems., 2010 U.S. Dist. LEXIS
23   159619, at *14–15 (C.D. Cal. Oct. 15, 2010) (explaining broad measure of damages for
24   unjust enrichment).
25   IV.   Mr. Oddo Can Prove His Negligent Misrepresentation Claim.
26         Mr. Oddo has also conceded that, unless reversed, the Court’s class certification
27   holdings on duty to disclose and objective materiality are dispositive of his negligent
28   misrepresentation claim. But his claim for negligent misrepresentation is not based solely

                                                24
 Case 8:15-cv-01985-CAS-E Document 319 Filed 09/20/21 Page 32 of 34 Page ID #:31041




 1   on a “pure omission.” Therefore, the Court cannot dismiss Mr. Oddo’s negligent
 2   misrepresentation claim on the additional grounds that Carrier seeks here. Br. 22–23.
 3           Mr. Oddo alleges that Carrier made a misleading “half-truth” that his air conditioner
 4   was capable of 16 SEER. True, his air conditioner was capable of achieving 16 SEER for
 5   right out of the box, but Carrier knew that once the rust inhibitor spread through the system
 6   it would no longer be so efficient. Carrier knew that the rust inhibitor would cause
 7   performance loss in virtually every contaminated system, SGD ¶¶ 98–132, and also knew
 8   that,
 9                                            , Ex. 3, 55:10–58:16, 65:23–66:1; SGD ¶¶ 185–87.
10   “[M]isleading ‘half-truths’ may satisfy the positive assertion element of negligent
11   misrepresentation.” Brothers v. Fortis Ins. Co., 2004 U.S. Dist. LEXIS 16358, at *17
12   (N.D. Cal. Aug. 11, 2004). 30 Carrier negligently misrepresented the efficiency rating of
13   Mr. Oddo’s air conditioner by failing to disclose this additional information, which was
14   necessary to make the SEER rating not misleading. Therefore, Mr. Oddo can prove a
15   negligent misrepresentation by half-truth.
16                                         CONCLUSION
17           Respectfully, the Court should only grant judgment, if at all, on its two prior
18   holdings: duty to disclose under the safety/central function tests and objective materiality.
19   The Court can go no further because Carrier’s other arguments require resolution of
20   genuine disputes of material fact.
21
22
23   30
        In its last footnote Carrier argues that Mr. Oddo’s surviving UCL claims should be
24   dismissed for the same reasons as his fraud claims. Carrier’s description of the nature of
     his surviving UCL claim is not fully accurate (compare Carrier Br. at 23 n. 7 with MTD
25   Op. (ECF 57), at 35), but its argument is also wrong because, for the reasons stated above,
26   summary judgment should not be entered against Mr. Oddo’s CLRA and other non-UCL
     claims. Therefore, Mr. Oddo’s UCL claims based on the “fraudulent,” “unlawful,” and
27
     “unfair” prongs survive as well (except to the extent previously dismissed). See Hadley v.
28   Kellogg Sales Co., 273 F. Supp. 3d 1052, 1063, 1096, 1099 (N.D. Cal. 2017) (surviving
     CLRA claim sufficient to sustain UCL claim on all three prongs).
                                                25
 Case 8:15-cv-01985-CAS-E Document 319 Filed 09/20/21 Page 33 of 34 Page ID #:31042




 1   DATED: September 20, 2021 By:     /s/ Timothy N. Mathews
                                       Timothy N. Mathews (pro hac vice)
 2                                     Zachary P. Beatty (pro hac vice)
 3                                     CHIMICLES SCHWARTZ
                                       KRINER & DONALDSON-SMITH LLP
 4                                     One Haverford Centre
 5                                     361 West Lancaster Avenue
                                       Haverford, PA 19041
 6                                     Telephone: (610) 642-8500
 7                                     Facsimile: (610) 649-3633
                                       Email: tnm@chimicles.com
 8                                            zpb@chimicles.com
 9
                                       James C. Shah
10                                     MILLER SHAH LLP
11                                     1845 Walnut Street, Suite 806
                                       Philadelphia, PA 19103
12                                     Telephone: (610) 891-9880
13                                     Telephone: (610) 891-9880
                                       Facsimile: (866) 300-7367
14                                     Email: jcshah@millershah.com
15
                                       Kolin C. Tang
16                                     MILLER SHAH LLP
17                                     19712 MacArthur Boulevard
                                       Suite 222
18                                     Irvine, CA 92612
19                                     P: (866) 540-5505
                                       kctang@millershah.com
20
                                       Attorneys for Plaintiff
21
22
23
24
25
26
27
28

                                         26
 Case 8:15-cv-01985-CAS-E Document 319 Filed 09/20/21 Page 34 of 34 Page ID #:31043




 1                                   CERTIFICATE OF SERVICE
 2         I certify that on September 20, 2021 a copy of the foregoing document was served
 3   electronically through the court’s electronic filing system upon all parties appearing on
 4   the court’s ECF service list.
 5
 6                                          /s/ Timothy N. Mathews

 7                                           Timothy N. Mathews

 8
 9
10
11          ATTESTATION PURSUANT TO CIVIL L.R. 5-4.3.4(a)(2)
12         The filer attests that the other signatories listed, on whose behalf the
13   filing is also submitted, are registered CM/ECF filers and concur in the
14   filing’s content and have authorized the filing.
15
16         Dated: September 19, 2021                      Kolin C. Tang
17                                                        Kolin C. Tang
18
19
20
21
22
23
24
25
26
27
28
                                               27
